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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

  FIELDTURF USA, INC. and
  FIELDTURF TARKETT INC.,                     Case No. 2:10-cv-12492

               Plaintiffs,                    HONORABLE STEPHEN J. MURPHY, III

  v.

  TEXTILE MANAGEMENT
  ASSOCIATES, INC., et al.,

               Defendants.
                                  /

                  ORDER REQUIRING CLOSING DOCUMENTS

        On March 8, 2019, the Court entered a stipulated order referring the parties

 to mediation. ECF 553. On August 6, 2019, the mediator notified the Court that the

 case settled. The Court will therefore require the parties to "submit appropriate

 documents to conclude the case within 21 days of settlement." E.D. Mich. LR

 16.4(e)(7).

        WHEREFORE, it is hereby ORDERED that the parties shall SUBMIT a

 proposed, stipulated order withdrawing the pending motion to dismiss [525] and

 closing the case no later than August 27, 2019.

        SO ORDERED.


                                       s/ Stephen J. Murphy, III
                                       STEPHEN J. MURPHY, III
                                       United States District Judge
 Dated: August 9, 2019




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                           CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on August 9, 2019, by electronic and/or ordinary mail.

                                       s/ David P. Parker
                                       Case Manager




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